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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiffs,                             4:18CR3126

      vs.
                                                             ORDER
RODRIGO BOLANOS, JOSE A.
DONATO, and ARTURO J. GARCIA,

                   Defendants.


      Defendant Donato has moved to continue the pretrial motion deadline,
(Filing No. 43), because he needs additional time to investigate this case and
prepare for trial. The motion to continue is unopposed. Based on the showing set
forth in the motion, the court finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant Donato’s motion to continue, (Filing No. 43), is granted.

      2)    As to all defendants, pretrial motions and briefs shall be filed on or
            before February 4, 2019.

      3)    As to all defendants, trial of this case is set to commence before
            the Honorable John M. Gerrard, Chief United States District Judge,
            in Courtroom 1, United States Courthouse, Lincoln, Nebraska, at
            9:00 a.m. on March 4, 2019, or as soon thereafter as the case may
            be called, for a duration of ten (10 trial days. Jury selection will be
            held at commencement of trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to all defendants, the additional time arising as a result
            of the granting of the motion, the time between today’s date and
            February 4, 2019, shall be deemed excludable time in any
            computation of time under the requirements of the Speedy Trial Act,
            because although counsel have been duly diligent, additional time is
            needed to adequately prepare this case for trial and failing to grant
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          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    Dated this 5th day of January, 2019.

                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




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